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14   Attorneys for Defendant CITY OF BERKELEY

15
                            UNITED STATES DISTRICT COURT
16
                          NORTHERN DISTRICT OF CALIFORNIA
17

18   MONI LAW, ET AL.,                           No. 3:15-cv-5343 JSC
19
           Plaintiffs,                           STIPULATION AND
20                                               [PROPOSED] ORDER OF
           v.                                    DISMISSAL
21
     CITY OF BERKELEY,
22
           Defendant.
23

24
                                             1
25
             Case 3:15-cv-05343-JSC Document 100 Filed 03/07/17 Page 2 of 2




 1          Plaintiffs and defendant City of Berkeley, through their undersigned counsel,

 2   stipulate as follows:
     The parties have reached a complete settlement in this matter. Pursuant to the agreement
 3
     between the parties, this action shall be dismissed with prejudice, and each party shall
 4
     bear their own attorneys’ fees and costs.
 5   IT IS SO STIPULATED.
 6
     Dated: March 2, 2017        LAW OFFICES OF JAMES B. CHANIN
 7
                                 RACHEL LEDERMAN & ALEXSIS C. BEACH,
 8                               Attorneys at Law
                                 NATIONAL LAWYERS GUILD, S.F. Bay Area Chapter
 9                               /S/
                                 By: RACHEL LEDERMAN
10                               Attorneys for Plaintiffs

11
     Dated: March 3, 2017        BERKELEY CITY ATTORNEY’S OFFICE
12                               ZACH COWAN, City Attorney
                                 LYNNE BOURGAULT, Deputy City Attorney
13
                                 By: /S/
14                               LYNNE S. BOURGAULT
                                 Attorneys for Defendant
15

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18
                                                 ORDER
19          Pursuant to the stipulation of the parties, IT IS SO ORDERED.
                                                   ISTRIC
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                                             T ES D       TC
                                           TA
21   Dated: March 7, 2017        ___________________________________
                                                                                   O
                                           S




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                                          ED




                                 United States Magistrate Judge
                                                                                     RT




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                                      UNIT




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